Case: 1:15-cv-07755 Document #: 148 Filed: 03/28/19 Page 1 of 1 PageID #:2838

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Sharon Eul, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:15−cv−07755
                                                           Honorable Maria Valdez
Transworld Systems, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 28, 2019:


        MINUTE entry before the Honorable Maria Valdez: Magistrate Judge status
hearing held on 3/28/19. For the reasons stated in open court, Petitioners' Motion to
Intervene and to Amend May 31, 2018 Amended Final Approval Order, Nunc Pro Tunc
[127] and Petitioners' Motion for Rule to Show Cause Why Defendants Should Not Be
Held in Contempt [147] are withdrawn without prejudice. Plaintiff's Motion to Amend the
May 31, 2018 Amended Final Approval Order to Exclude Plaintiff Katelyn Korman From
the Settlement Class [139] is withdrawn. Plaintiff's Motion to Enforce Settlement
Agreement [137] is entered and continued to 4/30/19 at 10:00 a.m. Mailed notice(lp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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